                       Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 1 of 7                           FILED
AU 245B (Rev. 11116)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                  SEP 20 2017
                                                                                                              Clerk, u.s Dlstnct Court
                                         UNITED STATES DISTRICT COURT DlstG~eC;:~.c;I~tana
                                                                 District of Montana
                                                                           )
                UNITED STATES OF AMERICA                                   )
                                                                                   JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                                                                           )
                       ALVIN AUBREY ROE                                            Case Number: CR 17-16-GF-BMM-04
                                                                           )
                                                                           )       USMNumber:
                                                                           )
                                                                           )        Anthony R. Gallagh~e,--r_ _ _ _ _ _ _ _ _ _ __
                                                                           )       Defendant's Attorney
THE DEFENDANT:
IllI pleaded guilty to counl(s)        7 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea cfnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended

 18 U.S.C. §§ 2, 922(j)            Possession of Stolen Firearms                                              9/3/2015                     7




       The defendant is sentenced as provided in pages 2 through          _ _7___ of this judgment. The sentence is imposed pursuant to
lhe Senteneing Refonn Act of 1984.

D The defendant has been found not guilty on count(s)

IllI Count(s)     1, 2, 5 and 6
                 ~~----------------
                                                         D IS      ~ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, rc~titlltion, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorncy ofmatcrial changes in economIC circumstances.

                                                                          9/19/2017




                                                                         ~~~IIftl-~==-------

                                                                          Brian Morris, United States District Judge
                                                                         ~=='i~3-i':i"==-===:=':"='-"------
                                                                          Name and Title of Judge
                                                                                                                                          --_._-_._­

                                                                          9/19/2017
                                                                          Date
                     Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 2 of 7
AO 245B (Rev. 11116) Judgment in Criminal Case
                     Sbeet 2 - lmprisonment

                                                                                                               JudgnH::nt ~ Pag~     2     of         7
 DEFENDANT: ALVIN AUBREY ROE
 CASE NUMBER: CR 17·16·GF·BMM·04

                                                                         IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a. toWI
 term of:

  33 months.




     IilI The court makes the following recommendations to the Bureau of Prisons:
Defendant shall receive crel.ht for I69 days of custody;
PL~ccment in the RDAP Progl'Ull if eligible;
A Medical Evaluation .shall be I..OndUCled upon entry and placement shaH be dt Fed~ra] Medical Center in Rochester, Minnesota if ehgiblc; dnd
If nnt placed in Rochester. Mi.nnCS<lta placement in n Federal Medka1 Ce:1ter on the East Coast to allow fresh star! and no contact With co·dcfendant:"


     IilI The defendant is remanded to the custody afthe Gnited States YiMshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at                                  o a.m. o p.m. on                               - - - - - - -.....................     ~




       o as notified by the United States Marshal.
    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D   before 2 p.m, on

            o as notilied by tbe United States Marshal.
            o as notified by the Probation or Pretrial Services Office.

                                                                              RETURN
I bave executed this judgment as follows:




         Defendant delivered on           ---~         .. .•...
                                                        ~         ~~   ....                    to

a~   _____                _________....   _ _ ............ , with u certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                 By
                                                                                                       DEPUTY UNiTED STATES MARS~JAL·· --------------.--­
                       Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 3 of 7

AO 24SB (Rev_ 11116)



DEFENDANT: ALVIN AUBREY ROE
CASE NUMBER: CR 17-16-GF-BMM-04
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a tern) of:
 2 years

                                                 MA~DATORY CO~DITIONS

1.   You must nor COl1Ullit another federal, state or local crime.
2,   You must not unlawfullY" possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days 01 release from
     imprisomnent and allcast two periodic drug tests thereafter, as determined by the court.
              oThe above dlUg testing condition is suspended, ba.''ioo on lhe court's determination that you
               pose a low risk of future substance abuse. (check ~r(JppiJcahfe)
4.    ~ You must cooperate in lhe collection of DNA as direeted by the probation officer. (checkifapplicable)
5_     0 You must comply with the requirements of the Sex Offender Registration and Notifkmion Act (42lJ_S_C § 16901,01 seq_) as
         directed by the probation officer~ the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside) work, arc a student. or were convicted of a quaJJfying offense, (dred if uppli(.'abie)
6.     0 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with allY other conditions on the attached
page.
                    Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 4 of 7

AO 24SB {Re\'. 11:]6)   Jud!,.'lmml in il Criminal Case
                        Sheet 3A     Super.'lsed Release
                                                                                               Judgmt:'nt   Page     4        of         7
DEFENDANT: ALVIN AUBREY ROE
CASE NUMBER: CR 17-16-GF-BMM-04

                                           STA~DARD CONDITIONS OF SUPERVISIO~

AS part ofyour supervised release. you must comply with tbe following standard conditions of supervision. These conditions arc imposed
because they establish the basic expectations for your behavior while on supervision and identifY the minimum tools needed by prohation
officers to keep lnforrned. report to the court about, and bring about improvements In your conduct and condition.

L   You mllst report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer jmtructs you to report to a different probation office or within a different time
    frame,
2.  After initiaHy reporting to the probation office, you will rcccive instructions from the court or the probation officer about how and
    when you must report to the probation offic.er; and you must report to the probation officer as instructed.
3. You must not knowingly leave lhc tcdcral judicial district where you are authorized to reside without first getting permission from the
    court Or the probation officer,
4.  You must answer tmthfully the questions asked by your probation officer.
5.  You must live at a place approved by the probation officer. If you plan to change where you Ii vc or anything about your living
    arrangements (such a.s the people you live with») you must notify the probation officer at least 10 days before the change. jfnorifYing
    the probation officer in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officcr to vlsit you at any time at your home or elsewhere. and you must pcrmit the probation offii,,;cr to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7,  You mllst work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. Tfyou do not have full-time emptoym(;nt you must try to find full-time employment, unless the probntion ofticer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position Or your job
    responsibilities), you must notify the probation offker at least 10 days before the change. [r notifying the probation offii;,"~r at Icast 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8.  You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the pennission of thc
    probation officer,
9. If you are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
to. You must not own, possess, or have access to a firearm t ammunition, destructive devicef or dangerous weapon (Le" anything that was
    designed, or was modified for, the specific purpose of causing baddy injury or death to another person such as nunchakus or tasers).
II. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or infomllmt without
    fi.rst getting the pennission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization). the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probahon officer may contact thc
    person and confirm that you have notified the person about the risk.
13, You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditJOns specified by the court and has provided me with a \\;Titten copy of thlS
judgment containing thcse conditions. For further infonnahon regarding these conditions, see Overview (~rProb(l(ion and SUP("lvi.<;ed
Release Conditions, available at: ww\v.uscomrs,gov.


Defendant's Signature                                                                                       Date
                      Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 5 of 7
AO 245B(Rev. Illt6)    Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                            Judgment   Page   5   of   ____ ~ __ .
DEFENDANT: ALVIN AUBREY ROE
CASE NUMBER: CR 17-16-GF-BMM-04

                                         SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
 Probation Office, until such time as the defendant is released from the program by the probation office. The defendant is to
 pay part or all of the cost of this treatment, as directed by the United States Probation Office.

 2. The defendant shall submit his person, residence, vehicles, and papers, to a search, with or without a warrant by any
 probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
 submit to search may be groundS for revocation. The defendant shall warn any other occupants that the premises may be
 subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
 examination.

 3. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
 the United States Probation Office, until the defendant is released from the program by the probation office. The defendant
 is to pay part or all of the cost of this treatment, as directed by the United States Probation Office.

 4. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale.

 5. The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis tests, not more than
 104 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 6. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
 and/or synthetic stimulants that are not manufactured for human consumption, for the purpose of altering his mental or
 physical state.

 7. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription.
                       Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 6 of 7
AO 2458 (Rev, llJl6)    Judgment in It Criminal Case
                        Sheet 5 Crimlnai Monetary Penalties
                                                                                                     Judgment   Page _-'6"---_ of           7
 DEFENDANT: ALVIN AUBREY ROE
 CASE NUMBER: CR 17-16-GF-BMM-04
                                               CRlMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments 00 Sheet 6.


                         Assessment                JVTA Assessment*             Fi~~                        Restitution
 TOTALS              $ 10000                    S NIA                        $ WAIVED                    $ NIA



 ~      The determination of restitution is deferred until             . An Amended Judgrtteru in a Criminal Case fAU 245C) will be entered
                                                              ~~~




        after such determination.

 :.:J   The defendant must make resritution (including community restitution) to lhc following payees in the amount listed below.

        IfthC' ~efendant makes a partial payment, each payee shall receive an approxinwtelYfroportiont::d payment, unless s~ci}lc{] o(hcn"'I:5~ :1;
        the,pnonty or~er or perc~ntage payment CO!Onu1 below. However, pursuant to 18L.S.C. § 3664(1), all nonfederal vIctims must be pan]
        before the Umted States 15 paId.

 Nome of Pavee                                Total Loss**                     Restitution Ordered                    Priority or Percentage




TOTALS                                $                                    $~~~~~~~-


 o      Restitution amount ordered pursuant to plea agreement $

 o      Tbe defendant must pay interest on restitution and a fine of more than $2.500, unJess the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 o      The court detemlined that tbe defendant does not bave the ability to pay interest and it is ordered that:

        o the interest requirement is waived for the o fine 0 restitution.
        o the interest requirement for the [J fine 0 restitution is modified as follows:
* Justiee lor Victims ofTr.flicking Act of2015, Pub. L No. 114·22.
*.. Findings for the total amount oflosscs arc required under Chapters I09A. 110, ] lOA, and 11 JA ofTitle i 8 for offenses committed on or
after September 13, 1994, but before April 23, t996.
                          Case 4:17-cr-00016-BMM Document 172 Filed 09/20/17 Page 7 of 7
.-\0 145B (Rev. 11l! 6)    Judgment 111 a Criminal Case
                          Sheet 6    Schedule of Payment;;
                                                                                                                     Judgment    Page             or           7
 DEFENDANT: ALVIN AUBREY ROE
 CASE NUMBER: CR 17-16-GF-BMM-04


                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total crimina] monetary penalties is due as follows:

 A      D Lump sum payment of $                                       due inunediately. balance due

              o      not lafer than                                       , or
              D      in accordancc with       D C,           D   D,   D    E,or      D F below; or

 B      D     Payment to begin immediately (may be combined witb                  DC.          OD,or         D F below); or

 C      0     Payment in equal                          (C"8., weekly. monthly, quarterly) installments of $              .... _..__ ____ _ over a period of
                               (e.g" months oryears) , to commence                        (e,g., 30 or 6() days) after the date of this judgment; or

 D      D     Payment in equal            ......_ _ _ (e.g., weekly, mOllthly. quarterly) installmenfs of $                         over a period of
                               (e.g., momhs or years), to commence       ____________ (e.g., 30 or 60 du}\'l) after release from imprisonment to a
              term ofsupervision; or

 E      0     Payment during thc term of supervised release will commence within                    .. (e.g., 30 or 6{) days) aftcr rcJeusc from
              imprisonment The eourt will set the payment plan based on an al.'l)Cl.'smcnt of the defendant's ability to pay at that time; or

 F      III   Spccialinstructiol1S regarding the payment of criminal monetary penalties:

               Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
               payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
               the Bureau of Prisons' Inmate Financial Responsibility Program, Criminal monetary payments shall be made to
               the Clerk, United States District Court. Missouri River Courthouse. 125 Central Avenue West, Suite 110, Great
               Falls. MT 59404, •• Assessment Alvin Aubrey Roe".
 Unless ,the co~rt ha~ exprcssly orde~d ~thef\vjse, jfthis judg,nlent imposes imprisonment, payment ofcriminal monetary penattie~ is du.c during
 the penod of Impnsonment. All crmnnal monetary penaltu,:s, except those payments made through the Federal Bureau of Pnsons· Inmatc
 Financial Responsibility Program. arc made to tbe clerk of the court

 The defendant shall receive credit for all payments previously made toward any criminal monetary penaJties imposed.




 o Joint and Seveml
       Defendant and Co~Defendant Names and Case Numbers (including defendant number)~ Total Amol1nt, 10int and Several Amount,
       and corresponding payee, if appropriate,




 D     The defendant sball pay the cost ofprosecution.

 D     The defendant shall pay the following court eo't(5):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:
       a Marlin modcl36-A. 30-,]0 Win caliber lever-aclion rifle, serial number 15282; a Savage Arms Corp, modelS, ,22 caliber bolHl.ction flflc. no scrhd
       number; a Baker Gun & Forging Co. model Ratlvia Leader, 12-gauge break-adi<lll shotgun, serial number 91445; a Rcrninglon Arm!. Company, [n.,:.
       lllodel721, .30~06 caliber bolt-action rifle, serial number 252537; a MQssberg model50{lA.12~gauge pUlllp~action shotgun, serial number K407394, a
       Harrington & Richardson {H&R) mo-del532, .32 calJber revolver, serial number BA037337; a Ruger model LCP, .380 auto (aliber semi-aulomatlc ;"istOL,
       serial number obliterated; and a Haskell Manufacturing, Inc. (Hi*Polnt Firearms) model JHP, .45 caliber semi-automatic. pistol, serial n:lmbel X43562S.
 Paymenls shall be applied in the following order: (I) assessment. (2) restitution principal, (3) restitution interesl, (4) fine principal, (5) fine
 interest, (6) commumty restitution. (7) JVTA assessment, (8) penalties, and (9) costs, Includmg cost of prosecutwn and court costs"
